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                                                                                Revised January 2018


                                  Magistrate Judge Robert M. Levy
                                       Brooklyn Courthouse
                                     Telephone: 718-613-2340
                                        Fax: 718-613-2345
                                    Fax Page Limit: None listed
                                      Contact: Janine Marino
                                     Telephone: 718-613-2340
                                         Hours: None listed

 Motions Returnable: Set by the court.

 Unless otherwise ordered in a specific case, matters before Judge Levy shall be conducted in
 accordance with the following practices:

        1.      Electronic Case Filing (ECF)

                A.      All documents must be filed electronically. Regardless of the district judge
                        assigned, all documents directed to Judge Levy must be filed electronically
                        via the Court=s Electronic Case Filing System, pursuant to Administrative
                        Order 2004-08. ECF procedures are available from the district court=s
                        website, http://www.nyed.uscourts.gov. For questions, regarding filing
                        ECF documents you may call the Court=s Docket Section at
                        (718) 613-2610. ECF training may be scheduled by calling Evelyn Levine
                        at (718) 613-2312.

                B.      Notification and Orders by the Court: Attorneys will receive notifications
                        from the Court electronically. Hard copies will not be mailed to attorneys
                        registered for ECF. Accordingly, attorneys are responsible for keeping their
                        e-mail addresses current with the Clerk=s Office. Attorneys are responsible
                        for ensuring that they are registered with the Clerk=s Office to receive e-mail
                        notifications in each and every matter in which they appear before
                        Judge Levy. For assistance, you may call (718) 613-2610.

                C.      Exemptions: Litigants proceeding pro se are exempt from ECF requirements.
                        Requests by attorneys for an exemption to the mandatory ECF policy must be
                        submitted to Judge Levy within two weeks of the date of the Initial
                        Conference Order, and must set forth good cause hardship reasons that state
                        the specific technological or other reason why counsel is not able to
                        participate in ECF. Such requests will be granted only in limited
                        circumstances.




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       2.    Communications With Chambers

             A.    Letters. Except for parties proceeding pro se, all communications with
                   chambers shall be filed via ECF. Do not mail, fax or hand-deliver hard
                   copies of electronic filings or correspondence between counsel to
                   chambers unless prior authorization is obtained from chambers. All
                   correspondence must have case name, docket number, and initials of
                   judges assigned to the case.

             B.    Telephone Calls. In addition to Paragraph 2(D) below, telephone calls to
                   chambers are permitted. For scheduling or calendar matters, call
                   chambers at the number listed above.

             C.    Faxes. Faxes to chambers are not permitted unless prior authorization is
                   obtained. Hard copies of faxes to chambers shall not be sent without
                   permission from chambers.

             D.    Scheduling and Calendar Matters. For scheduling and calendar matters,
                   call Janine Marino at (718) 613-2340.

             E.    Requests for Adjournments or Extensions of Time. All requests for
                   adjournments or extensions of time must be made in writing (in letter
                   form) and electronically filed under AMotions@ and not as a ALetter@ under
                   AOther Documents.@ The letter must state (1) the original date of the
                   conference or deadline (2) the reason for the request, (3) how much
                   additional time is needed, (4) the number of previous requests for
                   adjournment or extension, (5) whether these previous requests were
                   granted or denied, and (6) whether the adversary consents, and if not, the
                   reasons given by the adversary for refusing to consent. If the requested
                   adjournment or extension affects any other scheduled dates, a proposed
                   Revised Scheduling order must be included. If the request is for an
                   adjournment of a court appearance, absent emergency it shall be
                   made at least 2 business days prior to the scheduled appearance.
                   Please do not call chambers to request an adjournment of a court date
                   except in case of an emergency.

       3.                 Motions

             A.    Judge to Whom Motions Are to Be Made: Unless otherwise specifically
                   ordered, all non-dispositive pretrial motions are to be made to Judge Levy.
                   All dispositive motions (e.g., motions to dismiss, change venue, and for
                   summary judgment) are to be made to the presiding District Judge in
                   accordance with his or her individual rules.


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             B.    Discovery Motions: For discovery motions, follow Local Civil Rules 37.3
                   and 6.4.

             C.    Cases In Which Parties Have Consented to Judge Levy: The parties may
                   consent, in writing, to refer a civil case to Judge Levy for all purposes,
                   including the entry of judgment, or for the limited purpose of a dispositive
                   motion or approval of a settlement or infant compromise. See 28 U.S.C.
                   ' 636(c)(1). In such cases, a pre-motion conference with Judge Levy is
                   required before making any dispositive motion, unless the moving party is
                   not represented by counsel, or the case stems from a habeas
                   corpus/prisoner petition or social security or bankruptcy appeal. The pre-
                   motion conference may be conducted by telephone with the permission of
                   the Court.

                   I.     To arrange a pre-motion conference, the moving party shall submit
                          a letter not to exceed three (3) pages in length setting forth the
                          basis of the anticipated motion. All parties so served must serve
                          and file a letter response, not to exceed three (3) pages within
                          seven (7) days of the service of the notification letter. Service of
                          the letter by the moving party within the time requirements of Rule
                          12 of the Federal Rules of Civil Procedure shall constitute timely
                          service of a motion made pursuant to Federal Rule of Civil
                          Procedure 12(b).

                   ii.    Courtesy Copies. Courtesy copies of all motion papers, marked as
                          such, should be submitted to chambers.

                   iii.   Memoranda of Law. The court expects counsel to exercise their
                          professional judgment as to the length of briefs and may impose
                          limits if that expectation is not met.

                   iv.    Filing of Motion Papers. Motion papers shall be filed promptly
                          after service.

                   v.     Oral Argument on Motions. Parties may request oral argument by
                          letter at the time their moving, opposing or reply papers are filed.
                          The court will determine whether argument will be heard and, if
                          so, will advise counsel of the argument date.

                   vi.    A pre-motion conference is not required before making any of the
                          motions described in Federal Rules of Appellate Procedure
                          4(a)(4)(A). These motions should be filed when served.




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       4.    Pretrial Procedures in Consent Cases

             A.    Joint Pretrial Orders in Civil Cases where Parties Consent to Trial
                   before a Magistrate Judge. Unless otherwise ordered by the Court,
                   within 60 days after the date for the completion of discovery in a civil
                   case, the parties shall submit to the court for its approval a joint pretrial
                   order. All joint pretrial orders shall include the following:

                   i.      The full caption of the action.

                   ii      The names, addresses (including firm names) and telephone and
                           fax numbers of trial counsel.

                   iii.    A brief statement by plaintiff as to the basis of subject matter
                           jurisdiction, and a brief statement by each other party as to the
                           presence or absence of subject matter jurisdiction. Such
                           statements shall include citations to all statutes relied on and
                           relevant facts as to citizenship and jurisdictional amount.

                   iv      A brief summary by each party of the claims and defenses that
                           party has asserted which remain to be tried, without recital of
                           evidentiary matter but including citations to all statutes relied on.
                           Such summaries shall identify all claims and defenses previously
                           asserted which are not to be tried.

                   v.      A statement by each party as to whether the case is to be tried with
                           or without a jury, and the number of trial days needed.

                   vi.     Any stipulation or agreed statements of fact or law which have
                           been agreed to by all parties.

                   vii.    A list by each party as to the fact and expert witnesses whose
                           testimony is to be offered in its case in chief, indicating whether
                           such witnesses will testify in person or by deposition. Only listed
                           witnesses will be permitted to testify except when prompt notice
                           has been given and good cause shown.

                   viii.   A designation by each party of deposition testimony to be offered
                           in its case in chief, with any cross-designations and objections by
                           any other party.

                   iv.     Exhibits

                    1)     A schedule listing exhibits to be offered in evidence and if not

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                          admitted by stipulation, the party or parties that will be offering
                          them. The schedule will also include possible impeachment
                          documents and/or exhibits, as well as exhibits that will be offered
                          only on rebuttal. The parties will list and briefly describe the
                          bases for any objections that they have to the admissibility of any
                          exhibits to be offered by any other party. Parties are expected to
                          resolve before trial all issues of authenticity, chain of custody and
                          related grounds. Failure to object in the pretrial order waives all
                          objections at trial, except objections as to relevance. Meritless
                          objections based on these grounds may result in the imposition of
                          sanctions. Only exhibits listed will be received in evidence except
                          for good cause; and

                          2)      All exhibits must be premarked for the trial and exchanged
                          with the other parties at least ten days before trial. Where exhibits
                          are voluminous, they should be placed in binders with tabs.

             B.    Filings Prior to Trial in Civil Cases. Unless otherwise ordered by the
                   Court, each party shall file, 15 days before the date of commencement of
                   trial if such a date has been fixed, or 30 days after the filing of the final
                   pretrial order if no trial date has been fixed:

                   i.     Requests to charge and proposed voir dire questions. Requests to
                          charge should be limited to the elements of the claims, the
                          damages sought, and defenses. General instructions will be
                          prepared by the court.

                   ii.    By claim, a detailed statement regarding damages and other relief
                          sought.

                   iii.   In non-jury cases, a statement of the elements of each claim or
                          defense involving such party, together with a summary of the facts
                          relied upon to establish each element.

                   iv.    In all cases, motions addressing any evidentiary or other issues
                          which should not be resolved in limine; and

                   v.     In any case where such party believes it would be useful, a pretrial
                          memorandum.




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